Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 1 of 30 PageID: 318




                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

 JAGDISH PATEL and KISHAN PATEL,     :
                                     :                 CIVIL ACTION NO.:
                   Plaintiffs,       :                 14-cv-08127 (WJM)(MF)
                                     :
              v.                     :
                                     :
 JIGNESH PANDYA, KRUPA PATEL, JNP :
 FOODS, LLC, RONAK FOODS, LLC,       :
 ROHAN PROPERTIES, LLC, SHREE        :                 ANSWER WITH AFFIRMATIVE
 SIDDHIVINAYAK, LLC, HARIDRA, LLC, :                   DEFENSES AND COUNTERCLAIM
 SRI PRATHAMESH, LLC, CT PIZZA, LLC, :
 EDISON PIZZA, LLC, JOHN/JANE DOES :
 1-10, and XYZ COMPANIES 1-10        :
                                     :
                   Defendants        :

        Defendants, Jignesh Pandya (“Pandya”), Krupa Patel, JNP Foods, LLC, Ronak Foods,

 LLC, Rohan Properties, LLC, Shree Siddhivinayak, LLC, Haridra, LLC, Sri Prathamesh, LLC,

 CT Pizza, LLC, and Edison Pizza, LLC (collectively, “Defendants”), by and through their

 attorneys, Baratta, Russell & Baratta, P.C., file the following Answer to Plaintiffs’, Jagdish Patel

 (“Jagdish”) and Kishan Patel (“Kishan”) (collectively “Plaintiffs”), Complaint with Affirmative

 Defenses and in support thereof states as follows:

                                         INTRODUCTION

       1.       Denied. It is denied that any wrongful acts have been carried out by the
 Defendants.

                                             PARTIES

        1.      Admitted. Admitted upon information and belief.

        2.      Admitted. Admitted upon information and belief.

        3.      Admitted.

        4.      Admitted

        5.      Admitted.

        6.      Admitted.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 2 of 30 PageID: 319




        7.      Admitted.

        8.      Admitted.

        9.      Admitted.

        10.     Admitted.

        11.     Admitted.

        12.     Admitted.

        13.     Admitted in part, denied in part. It is admitted that Edison Pizza is not an

 incorporated entity. The remainder of the averment is denied and strict proof thereof is

 demanded at trial.

        14.     Denied. Defendants lack knowledge or information sufficient to form a belief as

 to the truth of the allegations contained in Paragraph 14.

                                  JURISDICTION AND VENUE

        15.     Denied. Denied as a conclusions of law to which no response is required.

        16.     Denied. Denied as a conclusion of law to which no response is required.

        17.     Denied. Denied as a conclusion of law to which no response is required.

                                               FACTS

        18.     Denied. It is denied that Pandya has an extensive history of defrauding

 individuals. Strict proof thereof is demanded at trial.

        19.     Denied. It is denied that Pandya fraudulently obtained six hundred ten thousand

 dollars ($610,000.00) collectively from three different individuals. Strict proof thereof is

 demanded at trial.

        20.     Denied. It is denied that Pandya obtained funds by falsely promising investors a

 share in the ownership of certain franchises. Strict proof thereof is demanded at trial.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 3 of 30 PageID: 320




        21.     Denied. It is denied that Pandya used the investors’money to purchase certain

 franchises and failed to transfer any ownership stake in the purchased franchises to the investors.

 Strict proof thereof is demanded at trial.

        22.     Denied. Plaintiffs’characterization of the lawsuit is denied as the document

 “speaks for itself.”

        23.     Admitted. Admitted upon information and belief.

        24.     Denied. It is denied that Pandya sought to impress Jagdish with tales of his

 financial accomplishments. Strict proof thereof is demanded at trial.

        25.     Denied. After reasonable investigation, Defendants are without sufficient

 information to either admit or deny the allegations of Paragraph 25. As such, these allegations in

 Paragraph 25 are denied and strict proof thereof is demanded at trial.

        26.     Denied. It is denied that Pandya befriended Jagdish upon discovering that the

 Patel family had money to invest.

        27.     Denied. It is denied that Pandya sought out Jagdish to invest large sums of money

 in joint ventures. Pandya was originally approached by Jagdish; Pandya was not seeking partners

        28.     Admitted in part, denied in part. It is admitted that Jagdish visited Pandya’s

 office. The remainder of the averment is denied and strict proof thereof is demanded at trial.

        29.     Admitted in part, denied in part. It is admitted that Pandya explained to Jagdish

 that he did not need partners for his businesses. The remainder of the averment is denied and

 strict proof thereof is demanded at trial.

        30.     Denied. It is denied that any statements were made to make Jagdish believe that

 Pandya was looking out for the Patel family so that Pandya could defraud Plaintiffs. Strict proof

 thereof is demanded at trial.

        31.     Admitted.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 4 of 30 PageID: 321




             32.   Admitted in part, denied in part. It is admitted that for the Connecticut Deal,

 Pandya would be seventy-five percent (75%) owner and Plaintiffs would be twenty-five percent

 (25%) owner. The remainder of the averment is denied and strict proof thereof is demanded at

 trial.

             33.   Denied. It is denied that Pandya was responsible for funding one million fifty

 thousand dollars ($1,050,000.00) of the purchase price and Plaintiffs were responsible for the

 remaining three hundred fifty thousand dollars ($350,000.00). Strict proof thereof is demanded

 at trial.

             34.   Denied. It is denied that Pandya represented that the Connecticut franchises had a

 history of achieving lucrative profits in order to entice Plaintiffs to accept his offer. Strict proof

 thereof is demanded at trial.

             35.   Admitted in part, denied in part. It is admitted that on July 1, 2011, Pandya

 emailed Jagdish profit projections for the Connecticut Franchises. The remainder of the

 averment is denied and strict proof thereof is demanded at trial.

             36.   Denied. Plaintiffs’characterization of the profit projections is denied as the

 document “speaks for itself.”

             37.   Denied. It is denied that Plaintiffs were not provided any financial information

 regarding the Connecticut Franchises. Plaintiffs were provided with their requests in a timely

 manner. Strict proof thereof is demanded at trial.

             38.   Admitted in part, denied in part. It is admitted that Pandya requests his employee,

 Krupa Patel, to provide certain information. The remainder of the averment is denied and strict

 proof thereof is demanded at trial.

             39.   Denied. It is denied that Krupa Patel would inform Plaintiffs that they need to

 speak to Pandya. Strict proof thereof is demanded at trial.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 5 of 30 PageID: 322




        40.     Denied. It is denied that Pandya and/or Krupa used evasion tactics to prevent

 Plaintiffs from obtaining critical information regarding the companies. Strict proof thereof is

 demanded at trial.

        41.     Denied. It is denied that Pandya informed Jagdish that the projected profits would

 increase if Plaintiffs paid their portion in cash instead of securing financing. Strict proof thereof

 is demanded at trial.

        42.     Denied. It is denied that Pandya explained that if Plaintiffs paid their portion in

 cash, they would not be assessed any charges relating to the financing of Pandya’s portion of the

 purchase price. Strict proof thereof is demanded at trial.

        43.     Admitted in part, denied in part. It is admitted that Plaintiffs paid their portion in

 cash. The remainder of the averment is denied and strict proof thereof is demanded at trial.

        44.     Admitted.

        45.     Denied. It is denied that Pandya told Plaintiffs he need their payment in cash

 immediately in order to close the Connecticut Deal. Strict proof thereof is demanded at trial.

        46.     Admitted in part, denied in part. It is admitted that Plaintiffs wrote a check to

 Pandya. The remainder of the averment is denied and strict proof thereof is demanded at trial.

        47.     Denied. It is denied that Plaintiffs’contribution of three hundred fifty thousand

 dollars ($350,000.00) was not used to fund the purchase of the Connecticut Deal. Strict proof

 thereof is demanded at trial.

        48.     Denied. Plaintiffs’characterization of the documents in the Connecticut Deal is

 denied as the document “speaks for itself.”

        49.     Denied. It is denied that Pandya refused to provide Plaintiffs with the closing

 documents from the purchase of the Connecticut Deal. Strict proof thereof is demanded at trial.

        50.     Denied. It is denied that Pandya used means to deceive Plaintiffs into giving him

 their money. Strict proof thereof is demanded at trial.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 6 of 30 PageID: 323




        51.     Admitted in part, denied in part. It is admitted that CT Pizza retained a company

 owned by Pandya to serve as the management company. However, the management fee went to

 pay the salaries of people who were managing CT Pizza and the nine Pizza Huts. The remainder

 of the averment is denied, including the amount of the management fee, and strict proof thereof

 is demanded at trial.

        52.     Denied. It is denied that Pandya requested additional financial contributions for

 the purchase of a liquor license. Strict proof thereof is demanded at trial.

        53.     Admitted.

        54.     Denied. It is denied that Pandya ever claimed that the liquor license was not

 included in the original purchase price. Strict proof thereof is demanded at trial.

        55.     Denied. It is denied that Pandya stated that he had personally purchased the

 applicable licenses for five hundred thousand dollars ($500,000.00) and spent forty thousand

 dollars ($40,000.00) on attorneys fees. Strict proof thereof is demanded at trial.

        56.     Denied. It is denied that Pandya told Plaintiffs that they were responsible for

 reimbursing him for twenty-five percent (25%) of the above amount. Strict proof thereof is

 demanded at trial.

        57.     Denied. It is denied that Pandya did not provide any proof that he purchased the

 subject liquor licenses. Strict proof thereof is demanded at trial.

        58.     Denied. It is denied that Pandya was using the liquor licenses to defraud

 Plaintiffs out of an additional one hundred thirty-five thousand dollars ($135,000.00). Strict

 proof thereof is demanded at trial.

        59.     Admitted in part, denied in part. It is admitted that Plaintiffs paid a total of four

 hundred eighty-five thousand dollars ($485,000.00) for a twenty-five percent (25%) share of CT

 Pizza. The remainder of the averment is denied and strict proof thereof is demanded at trial.

        60.     Admitted. Admitted upon information and belief.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 7 of 30 PageID: 324




        61.     Denied. It is denied that Pandya mislead Plaintiffs into believing that in late

 2011, that the Connecticut Franchises were a lucrative investment. Strict proof thereof is

 demanded at trial.

        62.     Admitted.

        63.     Denied. It is denied that during the convention, Pandya pitched the idea of

 another joint venture. Strict proof thereof is demanded at trial.

        64.     Denied. It is denied that at the convention, Pandya suggested that since Plaintiffs

 lived in New Jersey, they could manage the franchises and take a more active role. Strict proof

 thereof is demanded at trial.

        65.     Denied. Defendants lack knowledge or information sufficient to form a belief as

 to the truth of the allegations contained in Paragraph 65.

        66.     Admitted. Admitted upon information and belief.

        67.     Admitted in part, denied in part. It is admitted that Pandya spoke with Hal

 McCoy at the convention. The remainder of the averment is denied and strict proof thereof is

 demanded at trial.

        68.     Admitted in part, denied in part. It is admitted that Pandya spoke with Hal

 McCoy alone at the convention. The remainder of the averment is denied and strict proof thereof

 is demanded at trial.

        69.     Admitted in part, denied in part. It is admitted that Pandya spoke with Hal

 McCoy alone at the convention. The remainder of the averment is denied and strict proof thereof

 is demanded at trial.

        70.     Denied. It is denied that Pandya informed Jagdish that McCoy had agreed to sell

 them nine (9) Pizza Huts in New Jersey and development rights for additional locations in

 Monmouth, Middlesex, and Mercer counties. Strict proof thereof is demanded at trial.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 8 of 30 PageID: 325




        71.     Denied. It is denied that Pandya represented that they had an agreement in

 principle. Strict proof thereof is demanded at trial.

        72.     Denied. It is denied that Pandya called Jagdish and informed him that the

 purchase price for the New Jersey Deal would be five million nine hundred thousand dollars

 ($5,900,000.00). Strict proof thereof is demanded at trial.

        73.     Denied. It is denied that Pandya represented that Pandya and Plaintiffs would be

 required to make a down payment in the amount of one hundred eighty thousand dollars

 ($1,180,000.00). Strict proof thereof is demanded at trial.

        74.     Admitted in part, denied in part. It is admitted that Pandya was performing due

 diligence with this possible transfer, including determining the exact locations of the New Jersey

 Franchises and the annual sales volume. These would have been passed along to Plaintiffs. The

 remainder of the averment is denied and strict proof thereof is demanded at trial.

        75.     Denied. It is denied that Plaintiffs needed to pay two hundred ninety-five

 thousand dollars ($295,000.00) for a down payment for the New Jersey Deal. Strict proof

 thereof is demanded at trial.

        76.     Admitted in part, denied in part. It is admitted that Plaintiffs agreed to partner

 with Pandya on the New Jersey Deal if it came to fruition. The remainder of the averment is

 denied and strict proof thereof is demanded at trial.

        77.     Admitted in part, denied in part. It is admitted that Jagdish sent an email asking

 Pandya to identify the attorney trust account in which to deposit the two hundred ninety-five

 thousand dollars ($295,000.00). The remainder of the averment is denied and strict proof

 thereof is demanded at trial.

        78.     Denied. Plaintiffs’characterization of the email is denied as the document

 “speaks for itself.”
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 9 of 30 PageID: 326




          79.   Admitted in part, denied in part. It is admitted that Jagdish gave Pandya a check

 in the amount of two hundred ninety-five thousand dollars ($295,000.00). The remainder of the

 averment is denied and strict proof thereof is demanded at trial.

          80.   Admitted.

          81.   Admitted.

          82.   Admitted in part, denied in part. It is admitted that Jagdish gave Pandya an

 additional one hundred eighty-five thousand dollars ($185,000.00). The remainder of the

 averment is denied and strict proof thereof is demanded at trial.

          83.   Admitted in part, denied in part. It is admitted that Jagdish gave Pandya an

 additional one hundred eighty-five thousand dollars ($185,000.00). The remainder of the

 averment is denied and strict proof thereof is demanded at trial.

          84.   Denied. It is denied that Pandya has no intention of closing on the New Jersey

 Deal or that Pandya sought to use Plaintiffs’money for his own personal gain. Strict proof

 thereof is demanded at trial.

          85.   Admitted in part, denied in part. It is admitted that Edison Pizza was never

 incorporated. The remainder of the averment is denied and strict proof thereof is demanded at

 trial.

          86.   Admitted in part, denied in part. It is admitted that the deal with Hal McCoy fell

 through. The remainder of the averment is denied and strict proof thereof is demanded at trial.

          87.   Admitted in part, denied in part. It is admitted that funds were not deposited with

 Robert Nathan, Esq. Funds however, were allocated, set aside or “escrowed,”by Pandya per

 Pandya and Plaintiffs agreement. The remainder of the averment is denied and strict proof

 thereof is demanded at trial.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 10 of 30 PageID: 327




         88.     Denied. It is denied that Pandya deliberately misrepresented the above noted

  facts regarding the New Jersey Deal in order to induce Plaintiffs to give him money. Strict proof

  thereof is demanded at trial.

         89.     Denied. It is denied that Pandya concealed the fact that the Connecticut

  Franchises were losing money. Strict proof thereof is demanded at trial.

         90.     Admitted in part, denied in part. It is admitted that Pandya gave Plaintiffs a check

  totaling approximately thirty-four thousand dollars ($34,000.00) for profits from 2011. The

  remainder of the averment is denied and strict proof thereof is demanded at trial.

         91.     Denied. The figure was not incorrect. Strict proof thereof is demanded at trial.

  Pandya did not even take his share of the profits. His share was reinvested in CT Pizza.

         92.     Admitted.

         93.     Admitted in part, denied in part. It is admitted that Pandya blamed some of the

  poor performance on a fire, Hurricane Sandy, and the opening of two new stores. The

  remainder of the averment is denied and strict proof thereof is demanded at trial.

         94.     Admitted in part, denied in part. It is admitted that once CT Pizza began

  requesting capital contributions to assist with cash flow and keep CT Pizza solvent, Plaintiffs

  demanded to review all financial records. The remainder of the averment is denied and strict

  proof thereof is demanded at trial.

         95.     Denied. It is denied that Pandya ever withheld critical information from Plaintiffs

  in order to conceal a fraud. Strict proof thereof is demanded at trial.

         96.     Denied. It is denied that any closing documents were altered in any way. Strict

  proof thereof is demanded at trial.

         97.     Denied. It is denied that any closing documents were altered in any way. Strict

  proof thereof is demanded at trial.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 11 of 30 PageID: 328




           98.    Denied. It is denied that any closing documents were altered in any way. Strict

  proof thereof is demanded at trial.

           99.    Denied. It is denied that any closing documents were altered in any way. Strict

  proof thereof is demanded at trial.

           100.   Denied. It is denied that any closing documents were altered in any way. Strict

  proof thereof is demanded at trial.

           101.   Admitted in part, denied in part. It is admitted that Plaintiffs requested copies of

  all CT Pizza records. The remainder of the averment is denied and strict proof thereof is

  demanded at trial.

           102.   Denied. It is denied that Pandya and Krupa Patel have refused to provide CT

  Pizza’s records. Strict proof thereof is demanded at trial.

           103.   Admitted in part, denied in part. It is admitted that Plaintiffs demanded the return

  of their money. The remainder of the averment is denied and strict proof thereof is demanded at

  trial.

           104.   Admitted. After the original transfer, CT Pizza made numerous capital calls.

  Plaintiffs transferred four hundred eighty thousand dollars ($480,000.00) to Pandya to either use

  for a new venture in New Jersey or CT Pizza. Pandya used the funds for CT Pizza.

           105.   Denied. It is denied that Pandya withheld Robert Nathan, Esq.’s contact

  information to conceal a fraud. Strict proof thereof is demanded at trial.

           106.   Denied. It is denied that Pandya threatened that there would be a loss of four

  hundred thousand dollars ($400,000.00) plus attorneys’fees. Strict proof thereof is demanded at

  trial.

           107.   Denied. Pandya did not make false statements to Plaintiffs to discourage them

  from requesting a return of their money. Strict proof thereof is demanded at trial.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 12 of 30 PageID: 329




         108.    Admitted. Plaintiffs have repeatedly demanded a return of their money.

  However, after the original transfer, CT Pizza made numerous capital calls. Plaintiffs transferred

  four hundred eighty thousand dollars ($480,000.00) to Pandya to either use for a new venture in

  New Jersey or CT Pizza. Pandya used the funds for CT Pizza. Pandya complied with their

  agreement and does not need to return the money.

         109.    Denied. It is denied that the following businesses are alter egos of Pandya: JNP

  Foods, LLC, Ronak Foods, LLC, Rohan Properties, LLC, Shree Siddhivinayak, LLC, Haridra,

  LLC, Sri Prathamesh, LLC, CT Pizza, LLC, Edison Pizza, LLC, and XYZ Companies (the

  “Alter Ego Business Entities”). Strict proof thereof is demanded at trial.

         110.    Denied. It is denied that Pandya exercised control over the Alter Ego Business

  Entities in furtherance of the above-noted frauds. Strict proof thereof is demanded at trial.

         111.    Denied. It is denied that the Alter Ego Business Entities are closely identified

  with the affairs of one another as well as Pandya’s personal and family affairs. Strict proof

  thereof is demanded at trial.

         112.    Denied. It is denied that the Alter Ego Business Entities intermingle funds

  between one another and Pandya’s personal accounts. Strict proof thereof is demanded at trial.

         113.    Admitted in part, denied in part. It is admitted that the Alter Ego Business

  Entities have common owners and common management. The remainder of the averment is

  denied and strict proof thereof is demanded at trial.

                                        FIRST CLAIM FOR RELIEF
                                                (FRAUD)

         114.    Denied. This is an incorporating paragraph to which no response is required.

         115.    Denied. Denied as a conclusion of law to which no response is required.

         116.    Denied. It is denied that Pandya made false material misrepresentations to

  Plaintiffs. Strict proof thereof is demanded at trial.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 13 of 30 PageID: 330




           117.   Denied. It is denied that Pandya made misrepresentations with the intent that

  Plaintiffs would rely upon them to their detriment. Strict proof thereof is demanded at trial.

           118.   Denied. It is denied that Pandya made misrepresentations with the intent to

  deceive Plaintiffs. Strict proof thereof is demanded at trial.

           119.   Denied. Defendants lack knowledge or information sufficient to form a belief as

  to the truth of the allegations contained in Paragraph 119.

           120.   Denied. Denied as a conclusion of law to which no response is required.

           WHEREFORE, the Defendants request judgment in their favor and against the Plaintiffs.

                                    SECOND CLAIM FOR RELIEF
                                (FEDERAL RICO, 18 U.S.C. § 1961, et seq.)

           121.   Denied. This is an incorporating paragraph to which no response is required.

           122.   Denied. Denied as a conclusion of law to which no response is required.

           123.   Denied. Denied as a conclusion of law to which no response is required.

           124.   Denied. It is denied that from July 2011 to present, Defendants associated

  together for a common purpose and were an ongoing organization. Strict proof thereof is

  demanded at trial.

           125.   Denied. Denied as a conclusion of law to which no response is required.

           126.   Denied. It is denied that Pandya and Krupa Patel directed the other Defendants

  and non-parties to take actions in furtherance of the fraudulent purpose of the Enterprise. Strict

  proof thereof is demanded at trial.

           127.   Denied. Denied as a conclusion of law to which no response is required.

           128.   Denied. It is denied that Pandya supervised and controlled the Enterprise and

  caused communications to be transmitted by wire and mail. Strict proof thereof is demanded at

  trial.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 14 of 30 PageID: 331




           129.   Denied. It is denied that Pandya used the mails in furtherance of the fraudulent

  purpose of the Enterprise. Strict proof thereof is demanded at trial. Denied also as a conclusion

  of law to which no response is required.

           130.   Denied. It is denied that Pandya transmitted communications by wire in

  furtherance of the fraudulent purpose of the Enterprise. Strict proof thereof is demanded at trial.

  Denied also as a conclusion of law to which no response is required.

           131.   Denied. Denied as a conclusion of law to which no response is required.

           132.   Denied. Denied as a conclusion of law to which no response is required.

           WHEREFORE, the Defendants request judgment in their favor and against the Plaintiffs.

                                   THIRD CLAIM FOR RELIEF
                             (NEW JERSEY RICO, N.J.S.A. 2C:41-1, et seq.)

           133.   Denied. This is an incorporating paragraph to which no response is required.

           134.   Denied. Denied as a conclusion of law to which no response is required.

           135.   Denied. Denied as a conclusion of law to which no response is required.

           136.   Denied. It is denied that from July 2011 to present, Defendants associated

  together for a common purpose and were an ongoing organization. Strict proof thereof is

  demanded at trial.

           137.   Denied. Denied as a conclusion of law to which no response is required.

           138.   Denied. It is denied that Pandya and Krupa Patel directed the other Defendants

  and non-parties to take actions in furtherance of the fraudulent purpose of the Enterprise. Strict

  proof thereof is demanded at trial.

           139.   Denied. Denied as a conclusion of law to which no response is required.

           140.   Denied. It is denied that Pandya supervised and controlled the Enterprise and

  caused communications to be transmitted by wire and mail. Strict proof thereof is demanded at

  trial.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 15 of 30 PageID: 332




         141.    Denied. Denied as a conclusion of law to which no response is required.

         142.    Denied. Denied as a conclusion of law to which no response is required.

         WHEREFORE, the Defendants request judgment in their favor and against the Plaintiffs.

                                     FOURTH CLAIM FOR RELIEF
                                    (FRAUDULENT INDUCEMENT)

         143.    Denied. This is an incorporating paragraph to which no response is required.

         144.    Denied. It is denied that Pandya made false material misrepresentations to

  Plaintiffs. Strict proof thereof is demanded at trial. Denied also as a conclusion of law to which

  no response is required.

         145.    Denied. It is denied that Pandya made misrepresentations with the intent that they

  would be relied upon by Plaintiffs and induce Plaintiffs to enter into agreements with Pandya.

  Strict proof thereof is demanded at trial. Denied also as a conclusion of law to which no

  response is required.

         146.    Denied. Denied as a conclusion of law to which no response is required.

         147.    Denied. Denied as a conclusion of law to which no response is required.

         148.    Denied. It is denied that Pandya knew that Plaintiffs were under a

  misapprehension as to the terms of the Pandya-Patel Agreements at the time Plaintiffs entered

  into the agreements. Strict proof thereof is demanded at trial. Denied also as a conclusion of

  law to which no response is required.

         149.    Denied. Denied as a conclusion of law to which no response is required.

         WHEREFORE, the Defendants request judgment in their favor and against the Plaintiffs.

                                FIFTH CLAIM FOR RELIEF
                     (NEGLIGENT MISREPRESENTATION CAUSING HARM)

         150.    Denied. This is an incorporating paragraph to which no response is required.

         151.    Denied. Denied as a conclusion of law to which no response is required.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 16 of 30 PageID: 333




              152.   Denied. It is denied that Pandya made misrepresentations with the intent that they

  would be relied upon by Plaintiffs and induce Plaintiffs to enter into agreements with Pandya.

  Strict proof thereof is demanded at trial. Denied also as a conclusion of law to which no

  response is required.

              153.   Denied. Denied as a conclusion of law to which no response is required.

              154.   Denied. Denied as a conclusion of law to which no response is required.

              WHEREFORE, the Defendants request judgment in their favor and against the Plaintiffs.

                                          SIXTH CLAIM FOR RELIEF
                                               (CONVERSION)

              155.   Denied. This is an incorporating paragraph to which no response is required.

              156.   Denied. Denied as a conclusion of law to which no response is required.

              157.   Admitted in part, denied in part. It is admitted that Pandya has refused to return

  Plaintiffs money. The remainder of the averment is denied and strict proof thereof is demanded

  at trial.

              158.   Denied. Denied as a conclusion of law to which no response is required.

              159.   Denied. Denied as a conclusion of law to which no response is required.

              160.   Denied. Denied as a conclusion of law to which no response is required.

              WHEREFORE, the Defendants request judgment in their favor and against the Plaintiffs.

                                   SEVENTH CLAIM FOR RELIEF
                           (BREACH OF CONTRACT –CT PIZZA AGREEMENT)

              161.   Denied. This is an incorporating paragraph to which no response is required.

              162.   Denied. It is denied that Plaintiffs and Pandya entered in a contract whereby

  Plaintiffs were to pay Pandya three hundred fifty thousand dollars ($350,000.00) in exchange for

  twenty-five percent (25%) of CT Pizza. Strict proof thereof is demanded at trial. Denied also as

  a conclusion of law to which no response is required.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 17 of 30 PageID: 334




         163.    Admitted in part, denied in part. It is admitted that the three hundred fifty

  thousand dollars ($350,000.00) went towards the purchase price. The remainder of the averment

  is denied and strict proof thereof is demanded at trial.

         164.    Denied. Denied as a conclusion of law to which no response is required.

         165.    Denied. Denied as a conclusion of law to which no response is required.

         166.    Denied. Denied as a conclusion of law to which no response is required.

         167.    Denied. Denied as a conclusion of law to which no response is required.

         WHEREFORE, the Defendants request judgment in their favor and against the Plaintiffs.

                              EIGHTH CLAIM FOR RELIEF
                  (BREACH OF CONTRACT –LIQUOR LICENSE AGREEMENT)

         168.    Denied. This is an incorporating paragraph to which no response is required.

         169.    Denied. It is denied that Plaintiffs and Pandya entered into a second agreement

  whereby Pandya would purchase liquor licenses. Strict proof thereof is demanded at trial.

         170.    Denied. It is denied that Plaintiffs agreed to pay twenty-five percent (25%) of the

  purchase price of the liquor license. Strict proof thereof is demanded at trial.

         171.    Denied. Denied as a conclusion of law to which no response is required.

         172.    Denied. Denied as a conclusion of law to which no response is required.

         173.    Denied. Denied as a conclusion of law to which no response is required.

         WHEREFORE, the Defendants request judgment in their favor and against the Plaintiffs.

                                 NINTH CLAIM FOR RELIEF
                     (BREACH OF CONTRACT –EDISON PIZZA AGREEMENT)

         174.    Denied. This is an incorporating paragraph to which no response is required.

         175.    Denied. It is denied that Plaintiffs and Pandya entered into a third agreement

  whereby Pandya would pay Pandya four hundred eighty thousand dollars ($480,000.00) in

  exchange for forty percent (40%) stake in Edison Pizza. Strict proof thereof is demanded at trial.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 18 of 30 PageID: 335




         176.    Denied. It is denied that Plaintiffs agreed to pay twenty-five percent (25%) of the

  purchase price of the liquor license. After the original transfer, CT Pizza made numerous capital

  calls. Plaintiffs transferred four hundred eighty thousand dollars ($480,000.00) to Pandya to

  either use for a new venture in New Jersey or CT Pizza. Pandya used the funds for CT Pizza.

  Strict proof thereof is demanded at trial.

         177.    Denied. Denied as a conclusion of law to which no response is required.

         178.    Denied. Denied as a conclusion of law to which no response is required.

         179.    Denied. Denied as a conclusion of law to which no response is required.

         180.    Denied. Denied as a conclusion of law to which no response is required.

         181.    Denied. Denied as a conclusion of law to which no response is required.

         WHEREFORE, the Defendants request judgment in their favor and against the Plaintiffs.

                              TENTH CLAIM FOR RELIEF
              (BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR
                                   DEALING)

         182.    Denied. This is an incorporating paragraph to which no response is required.

         183.    Denied also as a conclusion of law to which no response is required.

         184.    Denied. Denied as a conclusion of law to which no response is required.

         185.    Denied. Denied as a conclusion of law to which no response is required.

         WHEREFORE, the Defendants request judgment in their favor and against the Plaintiffs.

                                    ELEVENTH CLAIM FOR RELIEF
                                       (UNJUST ENRICHMENT)

         186.    Denied. This is an incorporating paragraph to which no response is required.

         187.    Denied also as a conclusion of law to which no response is required.

         188.    Denied. Denied as a conclusion of law to which no response is required.

         WHEREFORE, the Defendants request judgment in their favor and against the Plaintiffs.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 19 of 30 PageID: 336




                                       AFFIRMATIVE DEFENSES

                                   FIRST AFFIRMATIVE DEFENSE

         Defendants are not guilty of any of the acts or omissions alleged in the Complaint or

  otherwise.

                              SECOND AFFIRMATIVE DEFENSE

         Defendants performed and/or discharged each and every duty which they owed to

  Plaintiffs, if any, under the circumstances alleged in the Complaint or under any other

  circumstances.

                               THIRD AFFIRMATIVE DEFENSE

         Plaintiffs’claims are barred by the Doctrine of Waiver.

                              FOURTH AFFIRMATICE DEFENSE

         Plaintiffs’claims are barred by the Statute of Frauds.

                               FIFTH AFFIRMATICE DEFENSE

         Plaintiffs’claims are barred in accord and satisfaction.

                               SIXTH AFFIRMATICE DEFENSE

         Plaintiffs’claims are barred by the Doctrine of Illegaility.

                             SEVENTH AFFIRMATIVE DEFENSE

         Plaintiffs’claims are barred by the Doctrine of Laches.

                              EIGHTH AFFIRMATIVE DEFENSE

         Plaintiffs’claims are barred by the Doctrine of Statute of Limitations.

                               NINTH AFFIRMATIVE DEFENSE

         Plaintiffs’claims are barred by the Doctrine of Estoppel.

                               TENTH AFFIRMATIVE DEFENSE

         Plaintiffs’claims are barred by the Doctrine of Release.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 20 of 30 PageID: 337




                             ELEVENTH AFFIRMATIVE DEFENSE

         The liability of Defendants, if any, is reduced by monies paid to Plaintiffs by collateral

  sources.

                             TWELFTH AFFIRMATIVE DEFENSE

         The obligation of Defendants, if any, are defined and limited by contract.

                           THIRTEENTH AFFIRMATIVE DEFENSE

         Plaintiffs’claims are barred or recovery reduced due to Plaintiffs’failure to mitigate

  damages.

                           FOURTEENTH AFFIRMATIVE DEFENSE

         Plaintiffs’Complaint fails to state a claim upon which relief may be granted.

                            FIFTEENTH AFFIRMATIVE DEFENSE

         Plaintiffs’claims are barred by one or more superseding causes.

                            SIXTEENTH AFFIRMATIVE DEFENSE

         Plaintiffs’losses and damages resulted from circumstances and conditions beyond the

  control of Defendants.

                           SEVENTEENTH AFFIRMATIVE DEFENSE

         Plaintiffs lack standing to bring their alleged claims for relief.

             DEMAND FOR STATEMENT OF DAMAGES PURSUANT TO R.4:5-2

         Defendants demand that Plaintiffs furnish a Statement of Damages Claimed within the

  time prescribed by the Rules of Court.

                   REQUEST FOR DOCUMENTS PURSUANT TO R.4:18-2

         Defendants demand that Plaintiffs produce all documents referred to in the Complaint

  within five days of the service of this Request for Documents.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 21 of 30 PageID: 338




                    DEMAND FOR STATEMENTS PURSUANT TO R.4:10-2(c)

            Defendants demand that Plaintiffs produce any statement made by any servant, agent,

  employee or representative of defendant concerning this action or the subject matter of this

  action.

                 DESIGNATION OF TRIAL COUNSEL PURSUANT TO R.4:25-4

            Defendants have designated Kenneth C. Russell, Esquire as trial counsel in the above-

  captioned matter.

                             CERTIFICATION PURSUANT TO R.4:5-1

            I hereby certify that, to my knowledge, the matter and controversy is not the subject of

  any action pending in any court and/or arbitration proceeding and that no other action or

  arbitration proceeding is presently contemplated.

                                           COUNTERCLAIM

            Counterclaim-Plaintiffs, Jignesh Pandya and CT Pizza, LLC (“CT Pizza”) (collectively

  “Counterclaim Plaintiff”), by and through his attorneys, Baratta, Russell & Baratta, hereby

  submits the following Complaint against the Counterclaim-Defendants, Jagdish Patel (“Jagdish”)

  and Kishan Patel (“Kishan”) (collectively “Counterclaim Defendants”), and, in support thereof,

  avers as follows:

                                                PARTIES

            1.     Counterclaim-Plaintiff, Jignesh Pandya, is an adult individual and a resident of

  Pennsylvania, residing at 8 Woodland Road, Newtown, Pennsylvania, 18940.

            2.     Counterclaim-Plaintiff, CT Pizza is a Connecticut PA limited liability company.

            3.     Defendant, Jagdish, is an adult individual and a resident of New Jersey, residing

  at 395 New Dover Road, Colonia, New Jersey 07067.

            4.     Defendant, Kishan, is an adult individual and a resident of New Jersey, residing at

  395 New Dover Road, Colonia, New Jersey 07067.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 22 of 30 PageID: 339




                                  JURISDICTION AND VENUE

         5.      Jurisdiction is founded upon diversity of citizenship of the parties and the amount

  in controversy pursuant to 28 U.S.C. §1322, in that Counterclaim-Plaintiff is a citizen and

  resident of the Commonwealth of Pennsylvania and Counterclaim-Defendants are located in the

  State of New Jersey and the amount in controversy exceeds seventy-five thousand dollars

  ($75,000.00), exclusive of interest and costs.

         6.      Venue is proper in this Court under 28 U.S.C. § 1391(b) because a substantial part

  of the events or omissions giving rise to these claims occurred in the District of New Jersey.

         7.      This Court is authorized to grant Declaratory Relief under the Declaratory

  Judgment Act, 28 USC Section 2201-02, implemented through Federal Rule 57 of the Federal

  Rules of Procedure.

                                        FACTUAL BACKGROUND

  A.     CT PIZZA, LLC

         8.      In early 2011, Counterclaim-Plaintiff began pursuing a business opportunity.

         9.      When Counterclaim-Plaintiff began negotiating for the purchase of nine (9)

  individual Pizza Hut franchises, located in Connecticut, and development rights for an additional

  twenty (20) locations (the “Connecticut Deal”), neither Kishan nor his father, Jagdish, were

  involved with negotiations.

         10.     Counterclaim-Plaintiff incorporated CT Pizza which would own the Pizza Hut

  franchise in Connecticut.

         11.     Learning of Counterclaim-Plaintiff’s business venture through mutual contacts,

  Jagdish approached Counterclaim-Plaintiff requesting that he make Kishan a partner in this new

  venture.

         12.     At the time Counterclaim-Plaintiff was approached, he was not looking for a
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 23 of 30 PageID: 340




  partner in CT Pizza.

         13.       However, Counterclaim-Plaintiff became close to Jagdish and wanted to help his

  friend’s family.

         14.       Counterclaim-Plaintiff then decided to permit Kishan as a partner in CT Pizza.

         15.       Counterclaim-Plaintiff took the bulk of the responsibilities for the purchase and

  management of CT Pizza:

                   a. Counterclaim-Plaintiff personally guaranteed loans and the franchise

                      agreement.

                   b. Counterclaim-Defendant did not guarantee the loans or the franchise

                      agreement.

                   c. Counterclaim-Plaintiff utilized his own experience, as well as his employees

                      and other companies to manage, lend expertise, and even funds to CT Pizza to

                      continue its operations.

         16.       Once Counterclaim-Plaintiff secured an interest in CT Pizza, he in-turn offered

  Kishan 25% in CT Pizza for approximately four hundred eight-five thousand dollars

  ($485,000.00).

         17.       Kishan and Jagdish were not involved in the Connecticut Deal negotiations that

  Counterclaim-Plaintiff had to acquire CT Pizza, but they also never expressed a desire to be

  involved in the negotiations.

         18.       Despite the fact that Kishan was a passive partner, Counterclaim-Plaintiff kept

  Kishan - and Jagdish, despite not being a partner –abreast of the negotiations and the

  information provided to them by sellers.

         19.       Counterclaim-Defendants had access to numerous documents, regarding the

  purchase of the Pizza Huts, for their review, including, but not limited to, profit projections,

  profit and loss statements, leases, purchase agreements, the liquor license, a list of landlords and
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 24 of 30 PageID: 341




  their waivers, W2s, inspection reports, and a sales comparison for Q1 and Q2.

          20.    Prior to finalizing the Connecticut Deal, Kishan had the ability to demand any

  other due diligence that he found necessary.

          21.    However, Counterclaim-Defendants never took advantage of the due diligence

  process and/or the information derived therefrom.

          22.    Counterclaim-Defendants were satisfied with Counterclaim-Plaintiff performing

  the negotiations and the due diligence necessary to purchase the Pizza Huts.

          23.    Counterclaim-Defendants never complained during the negotiations nor did

  Counterclaim Defendants complain when when Kishan received distribution(s) from CT Pizza.

          24.    In fact, Counterclaim-Plaintiff received numerous emails from Jagdish profusely

  thanking him for allowing his son, Kishan, the opportunity to be Counterclaim-Plaintiff’s

  partner.

          25.    Once the Connecticut Deal was finalized, Counterclaim-Plaintiff still kept

  Counterclaim-Defendants abreast of the financial health of CT Pizza and the individual Pizza

  Huts.

          26.    Over the course of their business relationship, Counterclaim-Plaintiff provided

  Counterclaim-Defendants quarterly statements showing CT Pizza’s profits and losses, profit and

  loss statements for each of the nine Pizza Huts, tax returns, and bank account statements.

          27.    The financials were entirely transparent to the Counterclaim-Defendants.

          28.    Any time Counterclaim-Defendants requested a document, it was provided as

  soon as it could be produced.

          29.    As long as Kishan received his regular check, Kishan and Jagdish were not

  interested in actively participating in CT Pizza.

          30.    After approximately one year of owning the Pizza Huts, CT Pizza encountered

  some financial troubles.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 25 of 30 PageID: 342




           31.   The franchise business is a risky one where profits are not always guaranteed.

           32.   CT Pizza’s cash flow was insufficient to pay its expenses.

           33.   Through capital calls, additional funds were requested to assist with cash flow and

  keep CT Pizza solvent.

           34.   Counterclaim-Defendants refused to put Kishan’s 25% of the capital calls into CT

  Pizza.

  B.       THE OPERATING AGREEMENT

           35.   On July 12, 2011, Counterclaim-Plaintiff and Kishan executed CT Pizza’s

  Amended and Restated Limited Liability Company Operating Agreement (the “Operating

  Agreement”). A true and correct copy of the Operating Agreement is attached as Exhibit “A”.

           36.   The Operating Agreement, paragraph 3.2.1, provides in pertinent part:

                         3.2.1. If the Manager at any time or from time to time determines
                         that the Company requires additional Capital Contributions, then
                         the Manager shall give notice to each Member of (i) the total
                         amount of additional Capital Contribution that is required, (ii) the
                         reason the additional Capital Contribution is required, (iii) each
                         Member’s proportionate share of the total additional Capital
                         Contribution (determined in accordance with this Section), and (iv)
                         the date each Member’s additional Capital Contribution is due and
                         payable. A Member’s proportionate share of the total additional
                         Capital Contribution shall be equal to the product obtained by
                         multiplying the Member’s Percentage and the total additional
                         Capital Contribution required. A Member’s proportionate share
                         shall be payable in cash or by certified check.

           37.   At the time this Operating Agreement was executed, the percentage of CT Pizza

  owned by Counterclaim-Plaintiff was 75%; the percentage of CT Pizza owned by Kishan was

  25%.

           38.   During the course of business, CT Pizza was in need of numerous cash infusions

  just to remain viable and not file for bankruptcy.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 26 of 30 PageID: 343




         39.     As a result, Counterclaim-Plaintiff, as Managing Member, made numerous

  requests under paragraph 3.2.1 of the Operating Agreement for additional Capital Contributions

  from Kishan.

         40.     Despite making these mandatory Capital Calls, Kishan failed to contribute to CT

  Pizza his required proportionate share.

         41.     As a result of Kishan’s failure, Counterclaim-Plaintiff made Kishan’s Capital Call

  payments.

         42.     These additional Capital Contributions allowed CT Pizza to remain open and

  solvent.

         43.     Despite making capital calls in compliance with paragraph 3.2.1 of the Operating

  Agreement, since those capital calls were not met, on May 6, 2015, Counterclaim-Plaintiff’s

  counsel sent a letter and enclosures (the “Capital Call Letter”) to Counterclaim-Defendants

  counsel organizing all of the capital calls on one spreadsheet and again requesting Counterclaim-

  Defendants comply with their contractual obligations. A true and correct copy of the Capital

  Call Letter is attached as Exhibit “B”.

         44.     Since the Capital Call Letter, Counterclaim-Plaintiff has made two additional

  capital calls in the amount of thirty thousand dollars ($30,000.00).

         45.     To date, after initial funding, Counterclaim-Plaintiff has paid approximately two

  million two hundred four thousand four hundred seventy-two dollars and seven cents

  ($2,204,472.07) to CT Pizza.

         46.     Although he has repeatedly requested Kishan’s proportionate share of the

  additional Capital Contribution, Kishan has ignored these requests.

         47.     Kishan has failed to pay his required Capital Calls, which have amounted to five

  hundred fifty-one thousand one hundred eighteen dollars and two cents ($551,118.02), more than

  his initial, and only, contribution to CT Pizza.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 27 of 30 PageID: 344




          48.     The Operating Agreement, paragraph 3.2.3, provides in pertinent part:

                          3.2.3. If a Member fails to pay when due all or any portion of any
                          Capital Contribution, the Manager shall request the non-defaulting
                          Members to pay the unpaid amount of the defaulting Member’s
                          Capital Contribution (the “Unpaid Contribution”). To the extent
                          the Unpaid Contribution is contributed by any other Member, the
                          defaulting Member’s Percentage shall be reduced and the
                          Percentage of each Member who makes up the unpaid
                          Contribution shall be increased, so that each Member’s Percentage
                          is equal to a fraction, the numerator of which is that Member’s
                          total Capital Contribution and the denominator of which is the total
                          Capital Contribution of all Interest Holders.

          49.     Therefore, as Managing Partner of CT Pizza, Counterclaim-Plaintiff seeks to

  invoke paragraph 3.2.3 of the Operating Agreement and dilute Kishan’s interest in CT Pizza.

                                       COUNT I
                      CIVIL ACTION FOR DECLARATORY JUDGMENT
          50.     Counterclaim-Plaintiff incorporates by reference all of the allegations contained

  in Paragraphs 1 through 49 as if set forth fully herein.

          51.     Paragraph 3.2.3 of the Operating Agreement allows the Managing Partner of CT

  Pizza to dilute another partner’s share if that partner fails to pay all or a portion of his or her

  share of the capital contribution and another partner pays the unpaid contribution.

          52.     In this matter, Kishan ignored all capital calls for CT Pizza.

          53.     To keep CT Pizza solvent, Counterclaim-Plaintiff paid both his share of the

  capital calls but also Kishan’s outstanding payments.

          54.     Counterclaim-Plaintiff believes that under paragraph 3.2.3 of the Operating

  Agreement, as Managing Partner, he can now dilute and/or eliminate Kishan’s share in CT Pizza.

          55.     Counterclaim-Plaintiff therefore seeks a declaration by the Court that he may

  dilute and/or eliminate Kishan’s share in CT Pizza under paragraph 3.2.3 of the Operating

  Agreement.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 28 of 30 PageID: 345




         WHEREFORE, Counterclaim-Plaintiff, Jignesh Pandya, respectfully requests, pursuant

  to 28 U.S.C. § 2201(a), a Declaratory Judgment that:

               1) Kishan Patel’s interest in CT Pizza, LLC is diluted in accordance with the

                  Operating Agreement, paragraph 3.2.3.

               2) Kishan Patel’s interest in CT Pizza, LLC is eliminated in accordance with his

                  failure to make capital calls in accordance with paragraphs 3.2.1 and 3.2.3.

               3) Such other and further relief as the Court deems just and appropriate.

                                            COUNT II
                                       BREACH OF CONTRACT

         56.         Paragraphs 1 through 55 of the Counterclaim is incorporated herein by reference.

         57.      Counterclaim-Defendants conduct as set forth above has breached his or their

  contract with the Counterclaim Plaintiff.

         58.      Said breach of contract has cost the Counterclaim Plaintiff in excess of $2.4

  million dollars.

         59.      As a result of the Counterclaim-Defendants conduct in failing to make required

  capital contributions, the Counterclaim-Plaintiff has now lost the Development Agreement with

  Pizza Hut, thereby resulting in additional financial losses.

         60.      Said breach of contract has potentially exposed Counterclaim-Plaintiff’s personal

  guarantees, including but not limited to guarantees for bank loans as well as the guarantee on the

  franchise agreement.

         61.      Said guarantees expose the Counterclaim-Plaintiff to additional damages all of

  which derive from the Counterclaim-Defendants breach of contract.

         62.      Counterclaim-Defendants had promised that they would meet any capital

  requirements or capital calls.
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 29 of 30 PageID: 346




         WHEREFORE, Counterclaim-Plaintiff respectfully requests a judgment against the

  Counterclaim-Defendants in excess of $2,000,000.



                                            COUNT III
                                       MISREPRESENTATION

         63.     Paragraphs 1 through 62 of the Counterclaim is incorporated herein by reference.

         64.    Counterclaim-Defendants’conduct constitutes intentional and/or negligent

  misrepresentations.

         WHEREFORE, Counterclaim-Plaintiff respectfully requests a judgment against the

  Counterclaim-Defendants in excess of $2,000,000.

                                                     Respectfully submitted,


                                                     BARATTA, RUSSELL & BARATTA:



                                             BY:     /s/ Kenneth C. Russell_________
                                                     KENNETH C. RUSSELL, ESQUIRE
                                                     COURTNEY D. ZEUNER, ESQUIRE
                                                     Attorneys for Defendants/Counterclaim-
                                                     Plaintiffs
  DATED: August 10, 2015
Case 2:14-cv-08127-WJM-MF Document 39 Filed 08/11/15 Page 30 of 30 PageID: 347




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


  JAGDISH PATEL, ETAL,                      :       CIVIL ACTION
                                                    NO. 2:14- cv-08127-WJM-MF
         Plaintiffs                         :
      v.
  JIGNESH PANDYA, ETAL                       :
         Defendants                          :

  ___________________________________

  JIGNESH PANDYA,                               :
            Counterclaim Plaintiff
       v.                                       :

  JAGDISH PATEL and KISHAN PATEL
            Counterclaim Defendants :


                                CERTIFICATION OF SERVICE

      I, Courtney D. Zeuner, Esquire, counsel for Counterclaim Plaintiff, certifies that a copy of

  Defendants’Answer to Complaint and Counterclaim Plaintiff’s Complaint for Declaratory Relief

  was served by Electronic and Regular Mail on August 10, 2015 upon:


                                       Justin A. Jacobs, Esq.
                                        Genova Burns LLC
                                         494 Broad Street
                                        Newark, NJ 07102
                                    jjacobs@genovaburns.com



                                                          /s/ Kenneth C. Russell, Esq.
                                                          BARATTA, RUSSELL & BARATTA
                                                          3500 Reading Way
                                                          Huntingdon Valley, PA 19006
                                                          Phone: 215-914-2222
                                                          Fax: 215-914-2118
                                                          Courtney@barattarussell.com
